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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 1

                                          UNITED STATES DISTRICT COURT
                                                         District of New Mexico

                 UNITED STATES OF AMERICA                             Judgment in a Criminal Case
                                   V.

          SERGIO ANTONIO MALDONADO                                    Case Number: 2:22CR00252-001RB
                                                                      USM Number: 88569-509
                                                                      Defendant’s Attorney: Cesar Pierce-Varela (Appointment)

THE DEFENDANT:

☒     pleaded guilty to count(s) 1 and 2 of Indictment.
☐     pleaded nolo contendere to count(s) which was accepted by the court.
☐     was found guilty on count(s) after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title and Section               Nature of Offense                                         Offense Ended          Count

18 U.S.C. Sec 1708              Possession of Stolen Mail                                 05/19/2021             1 and 2


The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984 .

☐ The defendant has been found not guilty on count(s) .
☐ Count(s) dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                   12/01/2022
                                                                   Date of Imposition of Judgment


                                                                   /s/ Robert C. Brack
                                                                   Signature of Judge


                                                                   Honorable Robert C. Brack
                                                                   Senior United States District Judge
                                                                   Name and Title of Judge

                                                                   12/01/2022
                                                                   Date
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                       Sheet 2 - Imprisonment                                                                         Judgment - Page 2 of 7



DEFENDANT: SERGIO ANTONIO MALDONADO
CASE NUMBER: 2:22CR00252-001RB

                                                          IMPRISONMENT
The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of: 276 days or
time served, whichever is less.

A term of 276 days or time served, whichever is less is imposed as to Counts 1 and 2; said terms will run concurrently.

☐ The court makes the following recommendations to the Bureau of Prisons:




☒     The defendant is remanded to the custody of the United States Marshal.
☐     The defendant shall surrender to the United States Marshal for this district:
      ☐ at on .
      ☐ as notified by the United States Marshal.
☐     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      ☐ before 2 p.m. on .
      ☐ as notified by the United States Marshal.
      ☐ as notified by the Probation or Pretrial Services Office.

                                                               RETURN

I have executed this judgment as follows:




Defendant delivered on                                                                                         to
                                                     at                              with a certified copy of this judgment.




                                                                                   UNITED STATES MARSHAL

                                                                              By
                                                                                   DEPUTY UNITED STATES MARSHAL
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                        Sheet 3 – Supervised Release                                                                           Judgment - Page 3 of 7



DEFENDANT: SERGIO ANTONIO MALDONADO
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                                                       SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of: 3 years .
A term of 3 years is imposed as to Counts 1 and 2; said terms shall run concurrently.

                                                       MANDATORY CONDITIONS

1.   You must not commit another federal, state, or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
        ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of
               future substance abuse. (Check, if applicable.)
4.   ☐ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.   ☒ You must cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable)
6.   ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state, local, or tribal sex offender registration agency in the location
           where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.   ☐ You must participate in an approved program for domestic violence. (Check, if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.

                                              STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release
     from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when
     you must report to the probation officer, and you must report to the probation officer as instructed.
3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
     court or the probation officer.
4.   You must answer truthfully the questions asked by your probation officer.
5.   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying the
     probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
     becoming aware of a change or expected change.
6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
     take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
     doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you
     from doing so. If you plan to change where you work or anything about your work (such as your position or your job responsibilities),
     you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is
     not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or
     expected change.
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8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted
      of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation
      officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first
      getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may, after
      obtaining Court approval, require you to notify that person about the risk and you must comply with that instruction. The probation
      officer may contact the person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.
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                       Sheet 5 – Special Conditions                                             Judgment - Page 5 of 7


DEFENDANT: SERGIO ANTONIO MALDONADO
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                                          SPECIAL CONDITIONS OF SUPERVISION

You must not use or possess alcohol. You may be required to submit to alcohol testing that may include
urine testing, a remote alcohol testing system, and/or an alcohol monitoring technology program to
determine if you have used alcohol. Testing shall not exceed more than 4 test(s) per day. You must not
attempt to obstruct or tamper with the testing methods. You may be required to pay all, or a portion, of
the costs of the testing.

You must not knowingly purchase, possess, distribute, administer, or otherwise use any psychoactive
substances (e.g., synthetic cannabinoids, synthetic cathinones, etc.) that impair your physical or mental
functioning, whether or not intended for human consumption.

You must not possess, sell, offer for sale, transport, cause to be transported, cause to affect interstate
commerce, import, or export any drug paraphernalia, as defined in 21 U.S.C. 863(d).

You must provide the probation officer access to any requested financial information and authorize the
release of any financial information. The probation office may share financial information with the U.S.
Attorneys Office.

You must participate in an outpatient substance abuse treatment program and follow the rules and
regulations of that program. The probation officer will supervise your participation in the program
(provider, location, modality, duration, intensity, etc.). You may be required to pay all, or a portion, of
the costs of the program.

You shall waive your right of confidentiality and allow the treatment provider to release treatment
records to the probation officer and sign all necessary releases to enable the probation officer to monitor
your progress. The probation officer may disclose the presentence report, any previous substance abuse
evaluations and/or other pertinent treatment records to the treatment provider.

You must submit to substance abuse testing to determine if you have used a prohibited substance. Testing
shall not exceed more than 60 test(s) per year. Testing may include urine testing, the wearing of a sweat
patch, and/or any form of prohibited substance screening or testing. You must not attempt to obstruct or
tamper with the substance abuse testing methods. You may be required to pay all, or a portion, of the
costs of the testing.

You must submit to a search of your person, property, residence, vehicle, papers, computers (as defined
in 18 U.S.C. 1030(e)(1)), other electronic communications or data storage devices or media, or office
under your control. The probation officer may conduct a search under this condition only when
reasonable suspicion exists, in a reasonable manner and at a reasonable time, for the purpose of detecting
firearms, illegal narcotics, and any other illegal contraband . You must inform any residents or occupants
that the premises may be subject to a search.




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A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this judgment
containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised Release Conditions,
available at: www.uscourts.gov.




   Defendant’s Signature                                                                      Date
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                        Sheet 6 – Criminal Monetary Penalties                                                         Judgment - Page 7 of 7


DEFENDANT: SERGIO ANTONIO MALDONADO
CASE NUMBER: 2:22CR00252-001RB

                                               CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments.

☐    The Court hereby remits the defendant’s Special Penalty Assessment; the fee is waived and no payment is required.

Totals:                Assessment                  Restitution         Fine          AVAA Assessment*          JVTA Assessment**
                        $200.00                    $18,343.53           $                  $                          $


☐    The determination of the restitution is deferred until . An Amended Judgment in a Criminal Case will be entered after such
     determination.
☐    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

                                                       SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    ☒     In full immediately; or

B    ☐     $ due immediately, balance due (see special instructions regarding payment of criminal monetary penalties).

Special instructions regarding the payment of criminal monetary penalties: Criminal monetary penalties are to be made
payable by cashier's check, bank or postal money order to the U.S. District Court Clerk, 333 Lomas Blvd. NW, Albuquerque,
New Mexico 87102 unless otherwise noted by the court. Payments must include defendant's name, current address, case
number and type of payment.

Pursuant to the Mandatory Victim Restitution Act, it is further ordered that the defendant will make restitution jointly and
severally in the total amount of $18,343.53 to United States Postal Inspection Service. Restitution shall be submitted to the
Clerk of the Court, Attention Intake, 333 Lomas Boulevard N.W. Suite 270, Albuquerque, New Mexico 87102, to then be
forwarded to the victim(s). The restitution will be paid at a rate of 15% his gross monthly income or $100 a month; whichever
is greater.

A Special Penalty Assessment of $100.00 is imposed as to each of Counts 1 and 2, for a total amount due of $200.00.

Based on the defendant’s lack of financial resources, the Court will not impose a fine. In lieu of all or a portion of the fine, the
Court considered alternative sanctions, such as community service, placement at a residential reentry center, and location
monitoring, and concludes the total combined sanction without a fine or alternative is sufficiently punitive.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons' Inmate Financial Responsibility Program, are made to the clerk of court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA
assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs,
including cost of prosecution and court costs.

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
